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| Attorneys for Defendants

JAMES V. DEPPOLETO JR.,
Plaintiff,

TAKEOVER INDUSTRIES,
INCORPORATED, et al.
Defendant.

. UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEVADA

Case NO. 2:22-cv-02013-GMN-BNW

DEFENDANTS’ MOTION FOR LEAVE
TO FILE DOCUMENTS UNDER SEAL
or, ALTERNATIVELY FOR IN
CAMERA INSPECTION IN SUPPORT
OF DEFENDANTS’ OPPOSITION
RESPONSE TO MOTION FOR
PARTIAL SUMMARY JUDGMENT

COME NOW Defendants by and through counsel S. Don Bennion of the Law Office of
S. Don Bennion, and Jeffrey Whitehead Esq., of Whitehead & Burnett, and pursuant to LR IA
10-5, hereby submit the following Motion for Leave to File Documents Under Seal or
Alternatively for In Camera Submission under LR IA 10-4 (“Motion”), said documents were

previously produced to Plaintiff as DEFO1113 to DEFO1135, and identified as Exhibit H

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(proposed Exhibit) in support of Defendants’ Opposition Response to Motion for Partial
Summary Judgment. Ex. A. Accordingly, the aforesaid documents were not attached with the
Opposition to Plaintiff's Motion for Partial Summary Judgment.

Under LR IA 10-5(a), “papers filed with the Court under seal shall be accompanied by a
motion for leave to file those documents under seal.” The Court may then “direct the unsealing
of papers filed under seal, with or without redactions, after notice to all parties and an
opportunity to be heard.” LR IA 10-5(b).

Pursuant to LR IA 10-4, In Camera Submissions, “Papers submitted for in camera
inspection must not be filed with the court, but must be delivered to chambers of the
appropriate judge.”

Historically, courts have recognized a “general right to inspect and copy public records
and documents, including judicial records and documents” and a strong presumption in favor
of access to court records and documents (Foltz v. State Farm Mut. Auto Ins. Col, 331 F. 3d
1122, 1135 (9" Cir. 2003)); however, that right is not absolute, Nixon v. Warner Commc’ns,
Inc., 435 U.S. 589, 597 (1978); see also Allstate Ins. Co. v. Shah, 215CV01786APGDIA, 2023
WL 2307826, at *2 (D. Nev. Feb. 28, 2023) (ordering sealing of confidential financial
information and proprietary business information). A party seeking to seal documents in
support of a non-dispositive motion must only show “good cause” exists to seal the documents
in question. Kamakana v. City and County of Honolulu, 447 F. 3d 1172, 1179, 1180 (9™ Cir.
2006).

Here, Defendants submit that this Motion is filed in an abundance of caution because
Defendants do not argue these documents labeled DEF01113 to DEFO1135 are necessarily
“confidential” nor required to be sealed. As set forth in the Declaration of Michael Holley
submitted in support of Defendants’ Opposition Response to Plaintiff's Motion for Partial
Summary Judgment, proposed Exhibit H contains “true and correct copies of documents
contained in the Takeover computer files I reviewed after the Board of Directors as

reconstituted November 7, 2022, gained access to these Company records including email(s)

correspondence, presentation plans, marketing plans and other documents unknown to me

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prior to December 2022.” See Exhibit C, Declaration of Michael Holley, p. 3, para. 8, to
Defendants’ Opposition Response to Motion for Partial Summary Judgment. Ex. B.

For good cause, Defendants respectfully request leave to file the above-described
exhibit under seal or, alternatively for submission for in camera review by the Court in
connection with Defendants’ Opposition Response to Motion for Partial Summary Judgment.

DATED this 2" day of February 2025.

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CERTIFICATE OF SERVICE

On February 2, 2025 I served the following document(s):
1. The document(s) were served in accordance with LR IC 4-1 (c)by the following means
to the person(s) as listed below:
DEFENDANTS’ MOTION FOR LEAVE TO FILE DOCUMENTS UNDER SEAL or IN
THE ALTERNATIVE FOR IN CAMERA INSPECTION IN SUPPORT OF
DEFENDANTS’ OPPOSITION RESPONSE TO MOTION FOR PARTIAL SUMMARY

JUDGMENT

O a. ECF System

And all other parties requesting notice.

Xb. US mail, postage prepaid

c. Personal Service:

d. By direct email (as opposed to the ECF system): Based upon the written agreement
of the parties to accept service by email or a court order, I caused the document(s) to be sent to
the person(s) at the email addresses listed below. I did not receive, within a reasonable time
after transmission, any electronic message or other indication that the transmission was
unsuccessful.

James Patrick Shea, Esq.
Nevada Bar No. 405

Bart K. Larsen, Esq.

Nevada Bar NO. 8538

Kyle M. Wyant, Esq.

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Husch Blackwell LLP Husch Blackwell LLP

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Jennifer hoekel(@huschblackwell.com Patrick Harvev(@huschblackwell.com
Attorney for Plaintiff Attorney for Plaintiff

CO e. By fax transmission

Based upon the written agreement of the parties to accept service by fax transmission
or a court order, I faxed the document(s) to the person(s) at the fax numbers listed below. No
error was reported by the fax machine that | used. A copy of the record of the fax transmission
is attached.

O f. By messenger

I served the document(s) by placing them in an envelope or package addressed to the
person(s) at the addresses listed below and providing them to a messenger for service.

I declare under penalty of perjury that the foregoing is true and correct.

/s/ S. Don Bennion, Esq
Law Office of S. Don Bennion

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SXHIBIT A

EXHIBIT A
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SUBMITTED FOR
“TN CAMERA VIEW”
PURSUANT TO MOTION TO SEAL
DEF 01113 to DEFO1135

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10 | Attorneys for Defendants
11
2 UNITED STATES DISTRICT COURT
3 FOR THE DISTRICT OF NEVADA
14
5 | JAMES V. DEPPOLETO JR., Case NO. 2:22-cv-02013-GMN-BNW
6 Plaintiff,
17
3 . DECLARATION OF MICHAEL
HOLLEY EIN SUPPORT OF
19 OPPOSITION TO PLAENTIFE’S
oo | TAKEOVER INDUSTRIES, MOTION FOR PARTIAL SUMMARY
INCORPORATED, ef al. JUDGMENT
21 Defendant.
22
23
24
DECLARA FION OF MICHAEL HOLLEY
25
36 I, Michael Holley state and declare as follows:
27 L am over the age of eighteen and 1 am a Defendant in the United States District
28 | Court of Nevada case no. 2:22-cv-02013-GMN-BNW. I have personal knowledge of the facts

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set forth in this Declaration except the information which is set forth herein based on my

information and belief, related to this matter.

+. Lam a Defendant in the above-identified action and make this Declaration based on

my personal knowledge.

dO

to

] have personal knowledge of the facts stated in this declaration and am competent to testify

to them.

I have worked in the beverage industry since 1994, accumulating 30 years of expenence

launching and developing successful beverage brands.

In early 2021, as Chef Operating Officer, I launched Takeover Industries of which | am
one of the larger Creditors and also the personal Guarantor of the company credit cards.
The company achieved immediate success with our hydrogen water product, generating
approximately $500,000 in revenue during our first weekend of launch.

In Apnl 2021, Takeover engaged Jason Tucker as a consultant to assist with contract
negotiations and intellectual property matters. Tucker represented himself as having
expertise in negotiations and claimed pnor work experience with federal agencies. These
credentials were later discovered to be false.

Between April and October 2021, I repeatedly addressed concerns with Tucker regarding

his conduct, particularly his treatment of team members which was negatively affecting

company opesations.

71 have personal knowledge that Tucker manipulated a situation involving Joe Pavlik,
presenting false evidence to myself and Toby McBride that resulted in Pavlik losing his

shares, which Tucker then acquired.

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7. Attached to Defendants’ Opposition to Plamtffs Motion for Summary Judgment as

Exhibit A is a true and correct copy of the Resolution of the Board of Directors of Labor Smart,

Inc, and the Written Consent Board of Directors of Takeover Industries, Inc., dated November

7, 2022.

8. Attached to Defendants’ Opposition to Plaintiff's Motion for Summary Judgment as

Exhibits H, 1, L. M, and N are true and correct copies of documents contamed in the Takeover

computer files ] reviewed after the Board of Directors as reconstituted November 7, 2022,

gained access to these Company records including email(s) correspondence, presentation plans,

marketing plans and other documents unknown to me prior to December 2022. -

9.

il.

In October 2021, while I was hospitalized with Covid-19, Tucker made false accusations
about me misappropriating company funds. Though | was later exonerated and reached a
settlement with Takeover, Tucker used my absence to gain sole control over company bank

accounts and credit cards.

_In May 2022, during my forced absence, Tucker executed the first of three convertible note

agreements with James Deppoleto without proper board authorization.
Based on my direct knowledge of the alleged 2022 agreements, these convertible notes

contained terms that placed Takeover in technical default from the moment of execution.

.In November 2022, after my return to the company, we discovered through company

communications that Tucker and Deppoleto were engaged in unauthorized negotiations

with 5-hour Energy for their personal benefit.

. Takeover did not receive any type of refund from Great Northern Company for momies paid

by Deppoleto.

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14, Takeover's Account Quick Report dated December 28, 2024, in the amount of
$2.016,697.00. labeled DEF01383 was entered by Takeover's bookkeeper David Eisenberg
under the category “loans payable- James Deppoleto,” which was the category Tucker
initially described these amounts in 2022 , based on my examination of the Takeover
records.

15. Upon Tucker's removal from the Board, he retained control of cmitical company assets by
refusing to surrender passwords and access to:

a. Company bank accounts

b. QuickBooks financial records
c. Shopify account

d. Social] media accounts

e. Other vital business platforms

16. Tucker continued using company bank accounts through December 2022, leaving them
with negative balances.

17. Due to Tucker's mismanagement, Takeover:

a. Lost the NXTL LVL trademark

b. Faced multiple demands from vendors totaling millions of dollars
c, Could not attract new investors due to pending litigation

d. Accumulated substantial debt

18. The formation of Next Gen Beverages was undertaken to protect shareholder interests and
create new value after Takeover's trademark loss and mounting legal challenges made
continuing business operations impossible under that entity. Takeover had little to no assets

left which nome were used for Next Gen. Next Level Fitness water fled the trademark

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months before Takeover did. They filed an action with the trademark commussion and later
a lawsuit against Takeover.

19. Through our efforts with NextGen, we made the stock tradeable, enabling Deppoleto to
potentially realize value from approximately 400 million shares he possessed, Today these
shares were trading @.0018 which is a value of $720,000.00.

20. have read Defendants’ Opposition to Plaintiff's Motion for Partial Summary Judgment
and hereby confirm that the facts set forth in the Opposition are true and correct to the best
of my knowledge other than the information I confimm based on my information and belief.

I declare under penalty of perjury that the foregoimg is true and correct and if called
upon as a witness I could and would competently testify thereto.
Dated this 31" day of January 2025.

/s/f Michael Holley
Michael Holley.

